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IN THE UNITED sTATEs DISTRICT coURT" F l L E D
FoR THE MIDDLE DISTRICT oF TENi\IEssEEm8 m l 0 AH m m

NASHVILLE DIVISION
U.S. B"S`e‘i ICT COURT
HmDLE'cssiR:cr 0F m

EDMOND ZAGORSKI, )

)

Plaintiff, )

)
v ) No.

)

)
BILL HASLAM, in his official capacity )
as GOVERNOR; ) DEATH PENALTY CASE

)
TONY PARKER, in his official capacity ) EXECUTION DATE 10/11/18
as COMMISSIONER§ and ) at 7300 p.m.

)
TONY MAYS, in his official capacity )
as WARDEN, Riverbend Maximum )
Security Prison. )

COMPLAINT

1. Secrecy, evasiveness, and a rush to execute on the part of State actors have

forced Edmund Zagorski to make a terrible choice? either allow the state to subject
him to an execution by lethal injection Where the evidence establishes the last 10'18
minutes of his life Will be spent in utter terror and agony, or request to be
electrocuted Which Will end his life by burning his organs causing his body to be
mutilated and experiencing excruciating pain for (likely) 15'30 seconds. Trite
literary metaphors like “Catch'22,” “Hobson’s Choice,” or “between a rock and a
hard place” are inadequate to capture the horribleness of the position that the State

has placed him in.

Case 3:18-cV-01035 Document 1 Filed 10/10/18 Page 1 of 18 Page|D #: 1

 

2. lVlr. Zagorski files the instant complaint asking this Court to issue a temporary

restraining order and preliminary injunction directing the State of Tennessee to

execute l\/lr. Zagorski in accordance with its newest electrocution protocol.1
PARTIES

3. Plaintiff Edmond Zagorski is a condemned inmate residing at Riverbend

Maximum Security lnstitution, Nashville, Davidson County, Tennessee.

4. Defendant Bill Haslam is the Governor of the State of Tennessee. l\/lr.

Zagorski sues Governor Haslam in his official capacity.

5. Defendant Tony Parker is the Commissioner of the Tennessee Department of

Correction. l\/lr. Zagorski sues Mr. Parker in his official capacity.

6. Defendant Tony l\/lays is the Warden of Riverbend l\/laximum Security Prison.

l\/lr. Zagorski sues l\/lr. l\/.[ays in his official capacity.

VENUE
'7. ln this action, l\/lr. Zagorski seeks injunctive relief pursuant to 42 United
States Code § 1983.
8. l\/lr. Zagorski’s 1983 claim arises from a federal statute. This Court therefore

has jurisdiction over that claim pursuant to 28 Unites States Code § 1331.
9. Venue is proper in Tennessee’s l\/liddle District because the injury l\/lr. Zagorski

seeks to prevent would occur in the l\/liddle District. 28 U.S.C. §1391.

 

1 The most recent protocol of which Zagorski is aware is dated l\/larch 13, 2017. Exhibit A to Motion for
Temporary Restraining Order. However, since the protocol is not subject to the Administrative
Procedures Act or any administrative rulemaking process and the State changes its protocol at Will, a
newer one may exist.

Case 3:18-cV-01035 Document 1 Filed 10/10/18 Page 2 of 18 Page|D #: 2

 

10. Mr. Zagorski is unaware of any State administrative remedy for requesting
that the State not execute him by lethal injection.

RELEVANT FACTS
11. On March 2, 1984, a jury found Edmund George Zagorski guilty of two counts
of first degree murder. Following a brief sentencing phase, the jury found that no
mitigating circumstances outweighed two aggravating circumstances and that he
should be sentenced to death. lmmediately thereafter, the Honorable Fred Kelly
pronounced “the judgment of this Court that you shall be sentenced to death by
electrocution.” Trial Transcript Vol. IX, 1133'134.
12. At the time of l\/lr. Zagorski’s crimes, trial and conviction, electrocution was the
only statutory means of imposing the death penalty in Tennessee. Tenn. Code Ann. §
40'23'114.
13. ln 1998, the Tennessee legislature amended the death penalty statute to
permit an inmate sentenced to death by electrocution to choose to die by lethal
injection. Pub. Ch. 982 (Approved May 18, 1998).
14. ln 2000, the Tennessee legislature amended the death penalty statute to make
death by lethal injection the default method of execution for all condemned inmates,
while permitting inmates to choose to die by way of electrocution Pub. Ch. 614
(Approved March 30, 2000).
15. As presently enacted, the death penalty statute providesi

Any person who commits an offense prior to January 1, 1999, for which the
person is sentenced to the punishment of death may elect to be executed by
electrocution by signing a written waiver waiving the right to be executed by
lethal injection.

Case 3:18-cV-01035 Document 1 Filed 10/10/18 Page 3 of 18 Page|D #: 3

 

Tenn. Code Ann. § 40~23'114(b).

16. The death penalty statute does not provide any specific time frame for “signing
a written waiver.”

17. Prior to January 8, 2018, Defendants’ Lethal lnjection Protocol called for the
administration of one drug--pentobarbital. Tennessee courts have held that the pre'
January, 2018 protocol, “if administered properly, will likely cause death with
minimal pain and with quick loss of consciousness.” West V. Schofi'e]d, 519 S.W.Bd
550, 562 (T@nn. 2017>.

18. On January 8, 2018, the Defendants amended their Lethal lnjection Protocol,
leaving pentobarbital as “Protocol A” and adding a three'drug cocktail as “Protocol
B.” The three-drug cocktail consists of midazolam, a sedative'hypnotic (a drug that
reduces anxiety and brings about sleep), vecuronium bromide (a paralytic) and
potassium chloride (a depolarizing drug that will stop the heart and cause death).
19. On February 20, 2018, l\/lr. Zagorski and thirty'two other plaintiffs filed suit
in Davidson County Chancery Court challenging the constitutionality of the
midazolam'based three-drug protocol. Abdur’Rahman, et. a]. V. Parker, et. a], 18'183'
ll (Chancery Court of Davidson County February 20, 2018).

20. On l\/larch 15, 2018, the Tennessee Supreme Court sua sponte scheduled l\/lr.
Zagorski’s execution for October 11, 2018. State V. Zagorski No. M1996'00110'SC'
DPE'DD, (Tenn. March 15, 2018 Order setting execution date).

21. On July 5, 2018, Tennessee amended its lethal injection protocol by removing

altogether Protocol A"the single dose of pentobarbital"leaving the three'drug

Case 3:18-cV-01035 Document 1 Filed 10/10/18 Page 4 of 18 Page|D #: 4

 

midazolam protocol as the only method of lethal injection in Tennessee’s protocol.
Abdur’Rahman, et. a_/. V. Parker, et. a]., 18'188'11 (Chancery Court of Davidson
County July 5, 2018 Defendant’s Notice of Filing).

22. Mr. Zagorski’s position in that litigation and sincerely'held personal belief-
based on the science and proof developed at trial, as well as the Chancery Court’s
ultimate findings on July 26, 2018_is that the three'drug midazolam protocol will
cause severe pain, mental anguish and needless suffering Specifically, it is his
sincere belief that if he is executed in this manner, the midazolam will be inadequate
to protect him from any pain or mental anguish that will follow.

23. On July 9, 2018, after a punishingly short trial preparation period, trial began
on l\/lr. Zagorski’s constitutional challenge and lasted ten days.

24. As the trial evidence showed, an inmate in a midazolam execution will suffer
first from the injection of 100 ml of pH 3.0 acidic midazolam, which will cause
pulmonary edema. His lungs will begin to fill with fluid, and he will struggle to
breathe.

25. As this happens, an insufficiently trained prison warden will wait for three-
minutes, and then pinch his shoulder.

26. lf the warden is unable to observe any signs of consciousness, the executioner
will inject l\/lr. Zagorski with vecuronium bromide, which will paralyze his face,
extremities, arms and then lungs. This will cause l\/lr. Zagorski extreme panic and

distress, while he is hungering for air.

Case 3:18-cV-01035 Document 1 Filed 10/10/18 Page 5 of 18 Page|D #: 5

 

27 . He will remain in this state, with his lungs filling with fluid (though otherwise
not moving) for a couple of minutes, until a final injection of potassium chloride
causes him excruciating pain, as it “ignites” every nerve fiber in his body.

28. 30'45 seconds after this pain begins, his heart will stop, and shortly thereafter
he will lose consciousness and die.

29. According to the Chancellor who presided over the lethal injection trial, this
“dreadful and grim” execution will take between 10 and 18 minutes. Abdur’}€a]iman,
et. a]. V. Parker, et. a]., 18'183'11 (Chancery Court of Davidson County July 26, 2018
Order).

30. On July 26, 2018, two days after the conclusion of the trial, the Chancery Court
ruled against the inmates [d.

31. On July 30, 3018, l\/lr. Zagorski and the other inmates promptly appealed that
decision. Abdur’Ra}zman, et. al. V. Parker, et. a], 18'183'11 (Chancery Court of
Davidson County July 30,2018 Notice of Appeal).

32. On August 13, 2018, the Tennessee Supreme Court reached down to take
jurisdiction from the Court of Appeals sua sponte, and set an expedited timeline for
the appeals process. Abdur’Rahma.n, et. a]. V. Parker, et. a], M2018'01385'SC'RDO~
CV (Tenn. July 26, 2018 Order and dissenting opinion).

33. On August 80, 2018, counsel for l\/lr. Zagorski delivered a letter to the Warden
of Riverbend l\/laximum Security Institution, informing him that l\/lr. Zagorski was
unable to choose a method of execution at that time, because the litigation regarding

lethal injection was still ongoing and unresolved This letter put the Warden and

Case 3:18-cV-01035 Document 1 Filed 10/10/18 Page 6 of 18 Page|D #: 6

 

Tennessee on notice that lV.[r. Zagorski was considering the option of electing death
by electrocution

34. On October 3, 2018, the Tennessee Supreme Court conducted oral argument
35. On October 8, 2018, at approximately 4100 p.m., the Tennessee Supreme Court
denied the inmates’ Eighth Amendment and other constitutional challenges to the
midazolam protocol.

36. The timeline set for l\/lr. Zagorski’s challenge to Tennessee’s ever'changing
lethal injection protocol has been coercive. ln less the seven months, the case moved
from the initial complaint (February 20, 2018), to the Tennessee Supreme Court’s
final opinion (October 8, 2018). Along the way, the inmates filed two amendments to
the complaint, secured four experts and eleven eye-witnesses, took nine depositions
(ranging from Tulsa, Oklahoma to Boston, l\/lassachusetts), conducted a ten day trial,
and prosecuted a full appeal on a 15,000+ page record.

37. Within 2 hours of the Tennessee Supreme Court’s decision, l\/lr. Zagorski
delivered to the Warden of Riverbend l\/laximum Security lnstitution his election to
be killed by the electric chair (“Affidavit Concerning l\/lethod of Execution”).

38. l\/lr. Zagorski made the following statement in this election!

By signing this affidavit l am not conceding that electrocution is constitutional
l believe that both lethal injection and electrocution violate my rights under
the 8th amendmentl However, if 1 am not granted a stay of execution by the
courts, as between two unconstitutional choices l choose electrocution. l do not
waive my right to continue to appeal my challenge to lethal injection. And, if
that appeal is successful, then l will challenge electrocution as
unconstitutionall l am signing this document because l do not currently have
a stay of execution and l do not want to be subjected to the torture of the
current lethal injection method.

Case 3:18-cV-01035 Document 1 Filed 10/10/18 Page 7 of 18 Page|D #: 7

 

39. On October 9, 2018, the Deputy Commissioner of the Tennessee Department
of Corrections, Debra K. lnglis, informed counsel for l\/lr. Zagorski that due to
counsel’s putative failure to abide by the timing requirements of the July 5, 2018
Lethal lnjection l\/lanual for choosing a method of execution, the state will not execute
Mr. Zagorski by electric chair, but, instead, his execution “will be carried out using a
three'drug combination consisting of Midazolam, Vecuronium Bromide, and
Potassium Chloride.”

40. As a basis for denying l\/lr. Zagorski’s statutorily permitted election of method
of execution, l\/ls. lnglis cited (1) Tennessee Code Annotated § 40'23'114 (which, as
noted, permitted this election), and (2) the July 5, 2018 Lethal lnjection Manual. She
presented no other legal support justifying the denial.

41. As best counsel for Mr. Zagorski can discern, the issues raised by the manual
are (1) the execution team is required to receive training within two weeks of an
execution (prior public records responses indicate that there have been regular
trainings on the electric chair, including as recently as July 5, 2018, however, counsel
for l\/lr. Zagorski has not received any records for the past two-weeks)§ and (2) the
electric chair must be in the execution chamber (where it normally sits) instead of
being removed (as would happen for a lethal injection execution); and (3) prison
officials must test the chair within one'week of an execution (again, prior public
records responses indicate that this has occurred in February of 2018, but counsel

does not know if it happened in the last week).

Case 3:18-cV-01035 Document 1 Filed 10/10/18 Page 8 of 18 Page|D #: 8

 

42. On October 9, 2018, l\/lr. Zagorski filed a petition for writ of certiorari on the
merits of his constitutional challenges to the lethal injection protocol with the United
States Supreme Court.

43. On October 9, 2018, l\/lr. Zagorski also applied for a stay of execution with the
Tennessee Supreme Court and the United States Supreme Court.

44. The Tennessee Supreme Court denied his application for a stay on October 9,
2018,

45. l\/lr. Zagorski does not wish to die after 10 to 18 minutes of “dreadful and grim”
suffering Abdur’Ra}zman, et. a]. v. Parker, et. al., 18'183~11 (Chancery Court of
Davidson County July 26, 2018 Order).

46. Electrocution is also “dreadful and grim,” according to all courts that have
recently examined it (and uniformly found it unconstitutional). E.g. DaWson V.
Georgja, 554 S.W.3d 137, 142 (Ga. 2001). However, it is also relatively fast. l\/lost
recently the Supreme Court of Nebraska, in finding the electric chair
unconstitutional, recognized that an inmate would probably remain conscious for 15
to 30 seconds (and possibly intermittently for minutes longer). State V. Mata, 745
N.W.2d 229, 278 (Neb. 2008). During this time an inmate would “suffer excruciating
pain from the electrical burning” and from “electrical stimulation of sensory nerves
in the lbrainl, skin and muscles.” Id. at 277 . Their body would burn. [d.

47. ln late September 4, 2018 while awaiting oral argument in the Tennessee

Supreme Court, l\/lr. Zagorski’s counsel learned from documents produced in response

Case 3:18-cV-01035 Document 1 Filed 10/10/18 Page 9 of 18 Page|D #: 9

 

to his public records request that Tennessee’s first lethal injection execution using
the new three'drug method had not been carried out pursuant to protocol.

48. lnstead, when Tennessee killed Billy Ray Irick on August 9, 2018 (1) prison
officials failed to prepare the second dose of midazolam (which Tennessee believes
would sedate an inmate who was otherwise found to be sensate and aware after the
first dose) as required by the written protocol, Abdur’}€a}lman, eli a_/. V. Parker, et. a],
18~188'11 (Chancery Court of Davidson County, Exhibit 2, July 5, 2018 Protocol); and
(2) witnesses described unmistakable signs that Mr. lrick suffered from pulmonary
edema for minutes before being paralyzed, indicating that he was almost certainty
sensate and aware when injected with potassium chloride. Abduz"]?ahman, et. a]. V.
Parker, et. a], M2018~01385'SC'RDO'CV (Attachments to September 6, 2018 l\/lotion
to Expand the Record).

49. Thus, the predicted 10 to 18 minutes of “dreadful and grim” death took place
AND all confidence that Tennessee can competently, conscientiously, and ethically
carry out a lethal injection execution pursuant to their newly enacted protocol has
been lost.

50. lf l\/lr. Zagorski cannot die via single'drug pentobarbital (which the State of
Tennessee, unlike Texas and Georgia, claims to be unable to acquire), and if he must
die in a “dreadful and grim” manner, he wants his death to be quz'ck, dreadful and
grim, instead of 10 to 18 minutes of dreadful and grim. Thus, it is his sincere

preference to die by the electric chair,

Case 3:18-cv-01035 Document 1 Filed 10/10/18 Page 10 of 18 Page|D #: 10

 

51. Moreover, l\/lr. Zagorski trusts that the prison staff can competently flip the

switch to turn on the electrical current, whereas trusting TDOC to properly mix and

prepare the drugs (that will inevitably, in a best case, cause severe pain, mental

anguish and needless suffering), would be na`ive in light of their complete failure to

do so for l\/lr. lrick’s execution. Thus, for this reason, as well, it is his sincere

preference to die by the electric chair.

52. Mr. Zagorski also recognizes that, if he must die, it would be proper to die in

the manner that the jurors and judge intended

53. At Riverbend Maximum Security lnstitution in Nashville, Tennessee, where

Mr. Zagorski is housed, and where he is set to be executed on October 11, 2018, there

is an operational electric chair. This electric chair is in the same room as the lethal

injection gurney. lt has been tested this year.

54. Prison personnel have been trained in how to conduct an execution using this

electric chair, as recently as July 5, 2018 (if not more recently). The protocol for

killing humans with this electric chair was maintained in the present, July 5, 2018

Execution Manual. Tennessee is capable of killing Mr. Zagorski in this electric chair.
CAUSES OF ACTION

I. Violation of 14th Amendment Procedural Due Process of Law

55. l\/lr. Zagorski incorporates all averments made in j[jl 1'54, above.

56. A jury sentenced l\/lr. Zagorski to death by electrocution.

57. Mr. Zagorski has three state-created liberty interests that Tennessee seeks to

deprive him ofl (1) the right to die by electrocution; (2) the right not to die by “dreadful

Case 3:18-cv-01035 Document 1 Filed 10/10/18 Page 11 of 18 Page|D #: 11

 

and grim” lethal injection; and (3) the right to choose electrocution over lethal
injection, Tenn. Code Ann. § 40'23'114(b).

58. Mr. Zagorski’s state~created liberty interests are not trivialities. lt would
impose a significant hardship on him to be subjected to 10 to 18 minutes of a dreadful
and grim execution, when a much faster method of death is statutorily available

59. l\/lr. Zagorski, having the statutory right to die by electrocution, also has
substantial liberty interest in not being involuntarily administered drugs that will
cause death less quickly than electrocution, but which will independently cause him
severe pain, mental anguish and needless suffering

60. Mr. Zagorski is being denied his liberty interests, due to Tennessee’s July 5,
2018 adoption of a revised protocol (some 34 years after his sentence, 20 years after
the adoption of lethal injection as an Qp_t_ign, and 18 years after the statute provided

inmates the right to choose between electrocution and lethal injection).

 

61. Tennessee’s July 5, 2018 Lethal Injection Manual (and all preceding manuals)
did not create “rules” under the Tennessee Uniform Administrative Procedures Act,
Tenn. Code Ann. § 4-4'125 et seq., (“UAPA”). Abdur’Rahman V. Bredesen, 181 S.W.3d
292, 311 (Tenn. 2005). l\/loreover, the State can and does frequently change, alter,
and amend the Lethal lnjection Manual without any notice to inmates lndeed, four
days before the commencement of l\/.[r. Zagorski’s chancery court trial, the State
issued the new July 5, 2018 Lethal lnjection Manual without any prior notice. The
Tennessee Department of Corrections could issue a new protocol the same afternoon

this lawsuit is filed

Case 3:18-cv-01035 Document 1 Filed 10/10/18 Page 12 of 18 Page|D #: 12

 

62. The issuance of a Lethal lnjection Manual, containing arbitrary time'lines that
are contrary to statute, cannot act to deprive l\/lr. Zagorski of his liberty interests
63. Mr. Zagorski is being denied his liberty interests as a result of the collision of
arbitrary procedural rules with an expedited lethal injection litigation schedule, that
led to him only being provided notice on October 8, 2018 that three~drug midazolam
was constitutional Prior to October 8, 2018, he could not intelligently decide whether
he would choose electrocution, as his challenge to lethal injection was ongoing

64. Tennessee’s application of arbitrary time deadlines on Mr. Zagorski, in the
midst of his challenge to the constitutionality of the lethal injection protocol is
arbitrary and capricious

65. Tennessee’s refusal to honor Mr. Zagorski’s election to choose electrocution,
made at the earliest possible moment, within hour(s) of the Tennessee Supreme Court
upholding lethal injection is arbitrary and capricious, and clearly violative of
fundamental concepts of procedural due process and ordered liberty.

66. Thus, l\/lr. Zagorski’s rights to procedural due process, as guaranteed by the
14th Amendment to the United States Constitution would be violated, should he be
denied the right to choose death by electrocution.

II. Violation of 8th Amendment Prohibition on Cruel and Unusual Punishments.

67. Mr. Zagorski incorporates all averments made in j[j{ 1‘54, above.
68. There is a substantial risk that Mr. Zagorski will suffer severe needless pain,
mental anguish and needless suffering, if Defendants execute him using Tennessee’s

three'drug protocol As the Chancery Court has already found, such an execution

Case 3:18-cv-01035 Document 1 Filed 10/10/18 Page 13 of 18 Page|D #: 13

 

will be “dreadful and grim” and last - if all goes as well as possible - for 10 to 18
minutes

69. There is a substantial risk that, if Mr. Zagorski is executed using the three-
drug protocol, he will suffer from pulmonary edema, air hunger, a sensation of being
buried alive, and, last, the experience of chemical burning from inside. l\/[idazolam,
a hypnotic'sedative with a ceiling effect, is completely incapable of protecting humans
from such suffering regardless of the dose. In fact, the larger the dose, the greater
the risk and severity of the pulmonary edema, which is caused by midazolam’s acidic
formulation. As midazolam has no analgesic properties and cannot render a human
insensate, it is not used to protect normal individuals from the “p ain” of a colonoscopy
(where fentanyl is commonly used to provide analgesia) or a dental filling (where local
anesthetics or halogenated gases protect against pain). Midaozlam is utterly
incapable of protecting against the much greater pain that will be inflicted by the
three'drug protocol

70. l\/loreover, in light of Tennessee’s recently revealed inability to follow their own
protocol, the substantial risk of severe pain, mental anguish and needless suffering
is increased To the extent that a second dose of midazolam would render an inmate
insensate (if the first dose did not), Tennessee’s proven inability to prepare this first
dose establishes the substantial risk of needless suffering

71. There is a feasible and readily available alternative to executing Mr. Zagorski
by three'drug lethal injectioni he is statutorily eligible to be executed using the

electric chair that is fully operational at Riverbend Maximum Security lnstitution.

Case 3:18-cv-01035 Document 1 Filed 10/10/18 Page 14 of 18 Page|D #: 14

 

72. Mr. Zagorski contends that, while, electrocution involves setting a human on
fire, and causes excruciating pain for 30'45 seconds, such an execution would
significantly reduce the risk of severe pain, mental anguish and needless suffering
Clearly, electrocution will reduce Mr. Zagorski’s pain from 10 to 18 minutes to 30'45
seconds

7 3. As there is a substantial risk of severe pain, mental anguish and needless
suffering, and as there is a feasible and readily available alternative that would
reduce this suffering, as to l\/lr. Zagorski, the Tennessee three'drug protocol should
be found unconstitutional

7 4. Mr. Zagorski would note, that this is an “as applied” challenge to the
constitutionality of lethal injection in his case, and his case alone. This challenge is
distinct from the broad facial challenge, which is presently pending on petition for
writ of certiorari before the United States Supreme Court. This “as applied”
challenge focuses on unique elements, not present in the facial challengef (a) Mr.
Zagorski has a statutory right to die by electrocution; and (b) since the facial
challenge was litigated, the State of Tennessee has failed to carry out a lethal
injection execution pursuant to the protocol The inmates in the facial challenge
attempted to present post'trial proof of Tennessee’s failure to properly conduct the
Billy Ray lrick execution, and the Tennessee Supreme Court declined to hear that

proof. Thus, this is a unique claim, not previously litigated

Case 3:18-cv-01035 Document 1 Filed 10/10/18 Page 15 of 18 Page|D #: 15

 

75. Thus, Mr. Zagorski’s rights under the Eighth Amendment to the United States
Constitution will be violated, should he be denied the right to choose death by
electrocution

III. Violation of E'X Post Facto clause

76a l\/lra Zagorski incorporates all averments made in 1111 1'54, above.

77. l\/lr. Zagorski was sentenced, pursuant to controlling Tennessee statute, to die
by way of electrocution,

78. The jury and the judge that sentenced him chose that he would die rather
quickly, if painfully, in the electric chair.

79. l\/lr. Zagorski submits that Tennessee’s three'drug protocol will inflict a greater
duration and severity of suffering than will death in the electric chair. That is, it
inflicts a greater punishment

80. Mr. Zagorski will be disadvantaged by being killed by lethal injection, in that
his death will involve 10 to 18 minutes of suffering instead of 15'30 seconds

81. Mr. Zagorski’s rights under the Ex Post Facto Clause of the United States
Constitution, Art. l, § 9 will be violated should he be denied the right to choose death
by electrocution,

IV. Violation of State LaW

82. l\/lr. Zagorski incorporates all averments made in 1111 1'54 above.

83. The Department’s refusal to allow Mr. Zagorski to choose his method of
execution violates Tennessee Code Annotated § 40'23'114(b), which allows an

individual who commits an offense before January 1, 1999 to elect to be executed by

Case 3:18-cv-01035 Document 1 Filed 10/10/18 Page 16 of 18 Page|D #: 16

 

electrocution, Provisions in Tennessee’s Lethal lnjection l\/lanual about the timing of

an inmate’s choice to be killed by electrocution do not vitiate his right to choose

under the statute. The manual is not even promulgated under the UAPA.

Abdur’}?a}iman V. Bredesen, 181 S.W.3d 292, 311 (Tenn. 2005).

PRAYER FOR RELIEF

l\/lr. Zagorski, respectfully requests that this Courtf

1) Enjoin the Defendants from executing Mr. Zagorski using the three'drug

protocol outlined in the July 5, 2018 TDOC execution manual

2) Order such other relief as this Court deems just.

BYI

Respectfully submitted,

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Case 3:18-cv-01035 Document 1 Filed 10/10/18 Page 17 of 18 Page|D #: 17

 

CERTIFICATE OF SERIVCE

l, Kelley J. Henry, hereby certify that a true and correct copy of the foregoing
document was electronically filed and sent to the following via email on this the Gth
day of September, 2018, toi

Andree Blumstein
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Case 3:18-cv-01035 Document 1 Filed 10/10/18 Page 18 of 18 Page|D #: 18

 

